Case 1:22-cv-00880-RGA Document 7-5 Filed 08/19/22 Page 1 of 2 PageID #: 148




                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE

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                                                       :
In re                                                  :   Chapter 11
                                                       :
TK HOLDINGS INC., et al.,                              :   Bankruptcy Case No. 17-11375 (BLS)
                                                       :
                  Debtors.                             :   Jointly Administered
                                                       :
------------------------------------------------------ x
                                                       :
SONYA MCNEAL,                                          :
                                                       :
                  Appellant,                           :   BAP No. 22-00040
                                                       :
v.                                                     :   C.A. No. 22-880 (RGA)
                                                       :
TK HOLDINGS INC., et al.,                              :
                                                       :
                  Appellees.                           :
                                                       :
------------------------------------------------------ x

                                     CERTIFICATE OF SERVICE

                 I, Peter J. Keane, hereby certify that on the 19th day of August, 2022, I caused a

copy of the following documents to be served on the individuals on the attached service list in

the manner indicated:


                 MOTION OF JOSEPH J. FARNAN, JR., AS TRUSTEE OF THE
                 REORGANIZED TK HOLDINGS TRUST, TO DISMISS APPEAL


                                                           /s/ Peter J. Keane
                                                           Peter J. Keane (Bar No. 5503)




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TK HOLDINGS, INC.
Dist. Ct. Case No. 22-280 (RGA)
Service List for Motion to Dismiss
Sonya McNeal Appeal
01—Email
01-First Class Mail


Email and First Class Mail
Sonya Y. McNeal, Esquire
2897 N. Druid Hill Road, NE
PMB #536
Atlanta, GA 30329
Email: sonyamcneal20@gmail.com




DOCS_DE:240335.1 82828/003
